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 8
 9                                   UNITED STATES DISTRICT COURT
10                             FOR THE NORTHERN DISTRICT OF CALIFORNIA

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                                                  )
12    Innovation Law Lab, et al.,                 )
13                                                )
                         Plaintiffs,              )   [PROPOSED] ORDER
14                                                )
      v.                                          )   Civil Action No. 3:19-cv-0807-RS
15                                                )
16    Alejandro Mayorkas, et al.,                 )
                                                  )
17                       Defendants.              )
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     PROPOSED ORDER
     Innovation Law Lab v. Mayorkas,
     Case No. 3:19-cv-0807-RS
                Case 3:19-cv-00807-RS Document 140-1 Filed 10/25/21 Page 2 of 2




                                           PROPOSED ORDER
 1
 2             The Parties’ Joint Motion to Temporarily Hold the Order to Show Cause in Abeyance is

 3   hereby granted. The Parties will file a status report with the Court on November 24, 2021.
 4
               SO ORDERED.
 5
 6
 7   Date ___________________                            _________________________
                                                         Hon. Judge Richard Seeborg
 8                                                       U.S. District Court Judge
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     PROPOSED ORDER
     Innovation Law Lab v. Mayorkas,                         1
     Case No. 3:19-cv-0807-RS
